                  Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 1 of 31
 AO 106 (Rev. 04/ 10) Application for a Search Warrant
                                                                                                                                           FILED
                                        UNITED STATES DISTRICT COURT                                                                       NOV -s 2017
                                                                          for the
                                                                                                                                    Clerk, U.S. District & Bankruptcy
                                                                 District of Columbia                                              Courts for the District of Columbia

               In the Matter of the Search of                                             Case: 1: 17-mj-00a21
                                                                             )
          (Briefly describe the prop erty to be searched                     )
           or identi.fj, the p erson by name and address)                                 Ass!gned To : Howell, Beryl A
                                                                             )
  INFORMATION ASSOCIATED WITH THE TWITTER
                                                                             )
                                                                                          Assign. Date : 11/6/2017      .
 ACCOUNTS
                                                                             )            Description: Search and Seizure Warrant
                                                                             )

                                              APPLICATION FOR A SEARCH WARRANT
        I , a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.
located in the               Northern
                    - - - ' - - - - - --           District of   _ _ __          California
                                                                            __.:....c.;c.:,c.;:_;_:--=--   ---     , there is now concealed (identi.fj, the
p erson or describe the property to be seized) :
 See Attachment 8.
 This warrant is sought pursuant to 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A).

           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
             Code Section                                                                          Offense Description
        18 U.S.C. § 1030                           Fraud and Related Activities in Connection with Computers
        18 U.S.C. § 371, § 2                       Conspiracy Against the United States, Aiding and Abetting
        50 U.S.C. § 30121                          Foreign Contribution Ban
           The application is based on these facts:

        See attached Affidavit.

           ~ Continued on the attached sheet.




          Rev:.::~~::::/::::::fue b~is ofwhich isset                              a;-~!:;
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ __ _ _                                              ) is requested




          IAaron Zelinsky (ASC)                                                                            Amy Anderson, Special Agent, FBI
                                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:             11/6/2017


City and state: Washington , D.C.                                                             Hon . Beryl A. Howell, Chief U.S. District Judge
                                                                                                                  Printed name and title
      Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 2 of 31


                                                                                             FILED
                           IN THE UNITED STATES DISTRICT COURT
                                                                                              NOV -s 2017
                               FOR THE DISTRICT OF COLUMBIA                          Clerk us 0 . .
                                                                                    Courts fo.r the ';~ntc~ & Bankruptcy
                                                                                                    is net ot Columbia
IN THE MATTER OF THE SEARCH OF                          Case: 1: 17-mj-00821
INFORMATION AS SOCIA TED WITH THE                       Ass!gned To : Howell, Beryl A
TWITTER ACCOUNT              AND                        Assign. Date : 11/6/2017
                                                        Description: Search and Seizure Warrant

                               AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR A SEARCH WARRANT

       I, Amy Anderson, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        I.        I make this affidavit in support of an application for a search warrant for

information associated with the Twitter Accounts                    (hereafter "Target Account 1")

and                     (hereafter "Target Account 2"), that is stored at premises owned,

maintained, controlled, or operated by Twitter, a social-networkin? company headquartered in

San Francisco, CA. The information to be disclosed by Twitter and searched by the Government

is described in the following paragraphs and in Attachments A and B. This affidavit is made in

support of an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A), and

2703(c)(I )(A).

       2.         I am a Special Agent with Federal Bureau oflnvestigation ("FBI") working

directly with the Special Counsel's Office. I have been a Special Agent with the FBI since 2010.

Since then, l have conducted national security investigations of foreign intelligence services,

espionage, and counter proliferation matters. I have training and experience related to espionage,

foreign intelligence services, and national security investigations. I have conducted and

participated in various investigations involving multiple threat countries as well as national

security threats and applicable criminal violations.
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 3 of 31




       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that certain individuals with whom the Target Accounts were

in communication have committed violations of 18 U..S.C. § I 030 (fraud and related activities in

connection with computers), 50 U.S.C. § 30121 (foreign contribution ban), 18 U.S .C. § 2 (aiding

and abetting), 18 U.S.C. § 371 (conspiracy to commit an offense against the United States), and

that communications related to these violations will be found on the Target Accounts. There is

therefore probable cause to search the information described in Attachment A for evidence of

these crimes and contraband or fruits of these crimes, as described in Attachment B.

       5.      As detailed further below, from on or about June 22, 20 I 6, through at least on or

about July 17, 2016, Target Account 1, belonging to WikiLeaks, exchanged numerous direct

messages concerning hacked information with Guccifer 2.0, which was a Twitter account used

by the Russian Government to release data obtained through hacking accounts of U.S. users.

Target Account 1 also sent direct messages via Twitter concerning a "guessed" password for the

website "                " to                        Target Account 2 belongs to Julian Assange,

the founder of WikiLeaks. Beginning no later than on or about July 2016, former Campaign

adviser Roger Stone was in contact with Assange via an intermediary regarding upcoming leaks

of hacked information obtained by WikiLeaks. In addition, Assange, using Target Account 2,

communicated directly with Stone beginning no later than on or about April 7, 2017. Stone

stated to Target Account 2 that he was "doing everything possible to address the issues [related

                                                 2
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 4 of 31




to WikiLeaks] at the highest level of Government," and that he and Target Account 2 "must be

circumspect in this forum as experience demonstrates it is monitored."

                                           JURISDICTION

       6.         This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. Id. §§ 2703(a), (b)(l)(A), & (c)(l)(A).

Specifically, the Court is "a district court of the United States (including a magistrate judge of

such a court) ... that has jurisdiction over the offense being investigated." 18 U.S.C.

§ 2711(3)(A)(i). The offense conduct included activities in Washington, D.C., as detailed below

in paragraph 9.

                                         PROBABLE CAUSE

   A. Background on the Target Accounts, Julian Assange, and Roger Stone.

       7.         Target Account 1 is the public account of WikiLeaks. As detailed further below,

it frequently has been used to release hacked information, including during the 2016 election.

Target Account 2 is the public account of Julian Assange. Target Account 2 has over 500,000

followers, but only follows one account, Target Account 1. Target Account 2 frequently

tweets information related to WikiLeaks and tags Target Account 1.

       8.         Julian Assange is the founder of WikiLeaks. According to the publicly-accessible

profile of Target Account 2, Assange currently is the "Publisher @WikiLeaks [Target Account

1]." Target Account 2's profile contains a link to the website " IamWikiLeaks.org\donate."

According to publicly-available press reporting, Assange began hacking secure computer

systems when he sixteen years old, in 1987. On or about December 1996, Assange pied guilty in

Australia to twenty-five charges related to hacking secure computer systems. In 2006, Assange

and others established WikiLeaks, and he previously described himself as WikiLeaks's Editor-

                                                    3
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 5 of 31




in-Chief. Assange has stated in public interviews that he is deeply involved in running

WikiLeaks. Referring to the DNC emails, Assange stated in an August, 2017 interview that, "We

had quite some difficulties to overcome, in terms of the technical aspects, and making sure we

were comfortable with the forensics," and that "You have to get close and interact with it, then

you start to get a feel." Assange indicated that only a small number of people, including himself,

worked on the release of the DNC emails. Assange stated in August 20 16 to a news organization

that, "We are working around the clock. We have received quite ·a lot of material."

       9.      Roger Stone is a self-employed political strategist/consultant and has been

actively involved in U.S. politics sine~ 1975. Stone officially worked on the presidential

campaign of Donald J. Trump (the "Campaign") until August 2015. Although Stone had no

official relationship with the Campaign thereafter, Stone maintained his support for Trump and

continued to make media appearances in support of Trump' s presidential campaign. After

Stone's public departure from the Campaign, Stone continued to correspond with individuals

related to the Campaign, including Paul Manafort (who worked for a time as Campaign

manager), Rick Gates (a campaign adviser), and Jason Miller (Campaign spokesman). As

discussed further below, Stone made a number of public references to WikiLeaks, Julian

Assimge, and the release of DNC-related emails.

   B. The DNC Email Hack and Russia's Use of "Guccifer 2.0" and WikiLeaks to
      Disseminate Hacked Information.

       10.     According to the public and unclassified intelligence report prepared by the

United States Intelligence Community, Russian intelligence gained access to the Democratic

National Committee (DNC) networks in July 2015 and maintained that access until at least June

2016. By March 2016, the Russian military intelligence (General Staff Main Intelligence


                                                4
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 6 of 31




Directorate or "GRU") probably began cyber operations aimed at the U.S. election. The GRU

operations resulted in the compromise of personal e-mail accounts within the DNC and other

Democratic Party officials and political figures. By in or about May 2016, the GRU had

exfi ltrated large volumes of data from the DNC. The DNC headquarters is located at 43 0 South

Capitol Street SE, Washington, D.C. 20003.

       11 .   The public and unclassified intelligence report assessed that:

              a.      The GRU used a Twitter account, "Guccifer 2.0" and the website

       DCLeaks.com to release the U.S. victim data obtained in cyber operations publicly and in

       exclusives to media outlets and relayed material to WikiLeaks.

              b.      Guccifer 2.0, who claimed to be an independent Romanian hacker, made

       multiple contradictory statements and false claims about hi s likely Russian identity

       throughout the election.

              c.      Content that was taken from e-mail accounts targeted by the GRU in

       March 2016 appeared on DCLeaks.com starting in June 20 16.

              d.      The GRU relayed material it acquired from the DNC and senior

       Democratic officials to WikiLeaks. WikiLeaks was mostly likely chosen because of its

       self-proclaimed reputation for authenticity. Disclosures through WikiLeaks did not

       contain any evident forgeries.

              e.      The Kremlin 's principal international propaganda outlet RT (formerly

       Russia Today) has actively collaborated with WikiLeaks. RT's editor-in-chief visited

       WikiLeaks founder Julian Assange at the Ecuadorian Embassy in London in August

       2013, where they discussed renewing his broadcast contract with RT, according to

       Russian and Western media. Russian media has subsequently announced that RT had

                                                5
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 7 of 31




       become "the only Russian media company" to partner with WikiLeaks and had received

       access to "new leaks of secret information."

               f.     On or about August 6, 2016, RT published an English-language video

       called "Julian Assange Special: Do WikiLeaks Have the E-Mail That'll Put Clinton in

       Prison?" and an exclusive interview with Assange entitled "Clinton and ISIS Funded by

       the Same Money."

       12.     On or about June 14, 2016, the Washington Post reported that "Russian

government hackers" had penetrated the DNC computer network and stole opposition research

on Donald J. Trump. The Kremlin's spokesman denied any Russian involvement in the hack.

       13.     On or about June 15, 2016, Guccifer 2.0 claimed responsibility for the DNC hack

and began posting hacked documents.

       14.     As detailed further below, on or about June 22, 2016, Guccifer 2.0 and Target

Account 1 initiated communication via Twitter private messaging regarding the transfer and

release of hacked information, including the hacked email accounts related to the DNC.

       15.     On or about July 22, 2016, WikiLeaks published about 20,000 emails stolen from

the DNC. Using Target Account 1, WikiLeaks publicly tweeted: "WikiLeaks releases thousands

of documents about Clinton and internal deliberations" and linked to a Washington Post article

and www.wiki leaks .org/dnc-emails/.

       I 6.    On or about August 12, 2016, Guccifer 2.0 released personal cellphone numbers

and email addresses from the files of the Democratic Congressional Campaign Committee

(DCCC).

       17.     On or about August 21, 20 16, Roger Stone directed a publicly-available tweet at

John Podesta, Hillary Clinton's presidential campaign manager, stating: "Trust me, it will soon

                                                6
      Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 8 of 31




the [sic] Podesta's time in the barrel. #CrookedHi llary." In a C-SPAN interview that same day,

Stone reiterated that because of the work of a '" mutual acquaintance' of both his and [Assange],

the public [could] expect to see much more from the exiled whistleblower in the form of

strategically-dumped Clinton email batches." He added: "Well, first of all, I think Julian

Assange is a hero ... I think he's taking on the deep state, both Republican and Democrat. I

believe that he is in possession of all of those emails that Huma Abedin and Cheryl Mills, the

Clinton aides, believe they deleted. That and a lot more. These are like the Watergate tapes."

        18.       On or about September 13, 2016, Target Account 1 tweeted a public message

stating, "678.4 MB of new ' DNC documents' from @Guccifer_2," with a link to a publicly

available file.

        19.       On Friday, October 7, 2016, at approximately 4:03 P.M., the Washington Post

published an article containing a recorded conversation from a 2005 Access Hollywood shoot in

which Mr. Trump had made a series of lewd remarks.

        20.       Approximately a half hour later, at 4:32 P.M., Target Account 1 sent out a Tweet

reading "RELEASE: The Podesta Emails #HillaryClinton #Podesta #im WithHer" and containing

a link to approximately 2,050 emai ls that had been hacked from John Podesta's personal emai l

account. WikiLeaks, via Target Account 1, continued to release John Podesta's hacked emails

throughout October 10-14, 2016.

    C. Communications Between the Target Account 1 and Guccifer 2.0

        21 .      On July 7, 2017 Magistrate Judge Maria-Elena James of the Northern District of

California issued a search warrant for the Twitter Account associated with Guccifer 2.0. The

communications obtained from the account are detailed further below.



                                                  7
      Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 9 of 31




         22.      On or about June 22, 2016, WikiLeaks sent Guccifer 2.0 sent a direct message

(OM) stating "Do you have secure communications?" Target Account 1 stated, "Send any new

material here for us to review and it will have a much higher impact than what you are doing. No

other media will release the full material." Guccifer 2.0 replied, "what can u suggest for a secure

connection? Soft, keys, etc? I'm ready to cooperate with you, but I need to know what's in your

archive 80gb? Are there only HRC emails? Or some other docs? Are there any DNC docs? If it's

not secret when you are going to release it?" Target Account 1 wrote back, "You can send us a

message in a .txt file here," and attached a web link. Guccifer 2.0 responded, "do you have

GPG?" I know from my training and experience that "GPG" refers to a program for exchanged

encrypted information.

         23.      On or about June 24, 2016, Guccifer 2.0 wrote to Target Account 1, "How can

we chat? Do u have jabber or something like that?" I know from my training and experience that

"Jabber" is an instant messaging service. Target Account 1 wrote back, "Yes, we have

everything. We' ve been busy celebrating Brexit. You can also email an encrypted message to

office@wikileaks.org. They key is here." 1 A web link was attached to the message. I know from

my training and experience that an encryption "key" is a string of information created for

scrambling and unscrambling data.

         24.      On or about June 27, 2016, Guccifer 2.0 wrote to Target Account 1, "Hi, [I]'ve

just sent you an email with a text message encrypted and an open key." Target Account 1 wrote

back, "Thanks." Guccifer 2.0 replied, "waiting for ur response. I send u some interesting piece."




1
 Target Account I sent each sentence as a separate message, though close in time. These messages have been
consolidated into a single quote for ease of reading. The same is done below with other close in time messages.

                                                         8
        Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 10 of 31




           25.      On or about July 4, 2016, Guccifer 2.0 wrote to Target Account 1, "hi there,

check up r email, waiting for [r]eply."

           26.      On or about July 6, 2016, Guccifer 2.0 wrote to Target Account 1, "have u

received my parcel?" Target Account 1 responded, "Not unless it was very recent. [we haven't

checked in 24h]." 2 Guccifer 2.0 replied, "I sent it yesterday, an archive of about 1 gb. via

[website link]. [A]nd check your email." Target Account 1 wrote back, "Wil[l] check, thanks."

Guccifer 2.0 responded, " let me know the results." Target Account 1 wrote back, "Please don't

make anything you send to us public. It' s a lot of work to go through it and the impact is severely

reduced if we are not the first to publish." Guccifer 2.0 replied, "agreed. How much time will it

take?" Target Account 1 responded, " likely sometime today." Guccifer 2.0 wrote back, "will u

announce a publication? and what about 3 docs [I] sent u earlier?" Target Account 1 responded,

" I don' t believe we received them. Nothing on 'Brexit' for example." Guccifer 2.0 wrote back,

"wow. have you checked ur mail?" Target Account 1 replied, "At least not as of 4 days ago . . . .

For security reasons mail cannot be checked for some hours." Guccifer 2.0 wrote back, "fuck, [I]

sent 4 docs on brexit on jun 29, an archive in gpg[.] ur submission form is too fucking slow, [I]

spent the whole day uploading 1 gb." I know from my training and experience that the term "gb"

is an abbreviation for "gigabyte," a unit of measurement of information stored on a computer.

           27.      Target Account 1 wrote back, "We can arrange servers l00x as fast. The speed

restrictions are to anonymise the path. Just ask for custom fast upload point in an email."

Guccifer 2.0 wrote, "will u be able to check ur email?" Target Account 1 responded, "We're

best with very large data sets. e.g. 200gb. these prove themselves since they're too big to fake. "



2
    The brackets appear in the original message.

                                                    9
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 11 of 31




Guccifer 2.0 responded, "or shall I send brexit docs via submission once again?" Target

Account 1 responded, "to be safe, send via [web link]."

       28.       On or about that same day, Guccifer 2.0 wrote, "can u confirm u received dnc

emails?" Target Account 1 wrote back several messages later, "for security reasons we can 't

confirm what we' ve received here. e.g., in case your account has been taken over by us

intelligence and is probing to see what we have." Guccifer 2.0 responded, "then send me an

encrypted email." Target Account 1 wrote back, "we can do that. but the security people are in

another time zone so it will need to wait some hours." Target Account 1 wrote, "what do you

think about the FBl ' s failure to charge? To our mind the clinton foundation investigation has

always been the more serious. we would be very interested in all the emails/docs from there. She

set up quite a lot of front companies. e.g in sweden." Guccifer 2.0 responded, "ok, [l]'ll be

waiting for confirmation. [A]s for investigation, they have everything settled, or else I don' t

know how to explain that they found a hundred classified docs but fail to charge her. " Target

Account 1 responded, "She' s too powerful to charge at least without something stronger. [A]s

far as we know, the investigation into the clinton foundation remains open[.] [W]e hear the FBI

are 4nhappy with Loretta Lynch over meeting Bill, because he' s a target in that investigation."

       29.      On or about that same day, Guccifer 2.0 wrote to Target Account 1, "[D]o you

have any info about marcel lazar? There've been a lot of rumors of late." "Marcel Lazar" is the

name of a Romanian Hacker who used the pseudonym "Guccifer," and who pied guilty on May

25, 2016 in the Eastern District of Virginia to hacking the personal accounts of a variety of

victims, including a former U.S. president. According to publicly available reporting, in May

20 16, Lazar also claimed to have hacked the email served belonging to then-candidate Clinton.

Lazar stated, " For me, it was easy ... easy for me, for everybody." Lazar's claims have not been

                                                 10
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 12 of 31




 substantiated, and the undersigned is not aware of evidence indicating Lazar accomplished the

 hack.

         30.    Target Account 1 wrote back, "the death? [A] fake story." Target Account 1

 messaged: "His 2013 screen shots of Max Blumenthal's inbox prove that Hillary secretly deleted

 at least one email about Libya that was meant to be handed over to Congress. So we were very

 interested in his co-operation with the FBI." Guccifer 2.0 wrote back, "some dirty games behind

the scenes [I] believe[.] Can you send me an email now?" Target Account 1 wrote back, "No;

we have not been able to activate the people who handle it. Still trying." Guccifer 2.0 replied,

"what about tor submission? [W]ill u receive a doc now?" Target Account 1 replied, "We will

get everything sent on [weblink]." [A]s long as you see \"upload succseful\" at the end. [I]fyou

have anything hillary related we want it in the next tweo [sic] days prefable [sic] because the

DNC is approaching and she will solidify bernie supporters behind her after." Guccifer 2.0

responded, "ok. I see."

         31.   Target Account 1 wrote, " [W]e think the public interest is greatest now and in

early october." Guccifer 2.0 responded, "do u think a lot of people will attend bernie fans rally in

philly? Will it affect the dnc anyhow?" Target Account 1 wrote, "bernie is trying to make his

own faction leading up to the DNC. [S]o he can push for concessions (positions/policies) or, at

the outside, if hillary has a stroke, is arrested etc, he can take over the nomination. [T]he question

is this: can bemies supporters+staff keep their coherency until then (and after). [O]r will they

dis[s]olve into hillary's camp? [P]resently many of them are looking to damage hilary [sic]

inorder [sic] to increase their unity and bargaining power at the DNC. Doubt one rally is going to

be that significant in the bigger scheme. [I]t seems many of them will vote for hillary just to

prevent trump from winning."

                                                 11
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 13 of 31




        32.    On or about that same day, Guccifer 2.0 sent Target Account 1 a message

reading, "sent brexit docs successfully." Target Account 1 responded, ":)))." Target Account 1

wrote back, "we think trump has only about a 25% chance of winning against hillary so conflict

between bernie and hillary is interesting." Guccifer 2.0 responded, "so it is." Target Account 1

wrote, "also, it' s important to consider what type of president hillary might be. If bernie and

trump retain their groups past 2016 in significant number, then they are a restraining force on

hillary."

        33.    On or about July 7, 2016, Target Account 1 wrote, "All good?" Guccifer 2.0

responded, "yeah, what about u? is smth wrong?" I know from my training and experience that

"smth" is used as an abbreviation for "something." Target Account 1 wrote back, "No. All

good." Guccifer 2.0 wrote back, "are working with the emails [I] sent u? [C]heck ur email. [I]

sent u a check archive from another email box. fuck, mail undelivered. [D]o you have another

way to receive large volumes of data? [B]esides for tor submission form?"

        34.    On or about July 11, 2016, Guccifer 2.0 wrote to Target Account 1, "sent it via

ur submission. check it."

        35.    On or about July 13, 2016, Guccifer 2.0 wrote, "r u there?" On or about July 14,

2016, Guccifer 2.0 wrote, "ping. Check ur email. sent u a link to a big archive and a pass."

Target Account 1 replied, "great, thanks; can' t check until tomorrow though ."

        36.    On or about July 17, 2016, Guccifer 2.0 wrote, "what bout now?" On or about

July 18, 2016, Target Account 1 responded, "have the 1Gb or so archive." Guccifer 2.0

responded, "have u managed to extract the files?" Target Account 1 responded, "yes. turkey

coup has delayed us a couple of days. [O]therwise all ready[.]" Guccifer 2.0 responded, "so

when r u about to make a release?" Target Account 1 wrote back, "this week. [D]o you have

                                                 12
       Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 14 of 31




any bigger datasets? [D]id you get our fast transfer details?" Guccifer 2.0 wrote back, "i'll check

it. did u send it via email? Target Account 1 responded , "yes." Guccifer 2.0 replied, "to [web

link]. [I] got nothing." Target Account 1 wrote, "check your other mail? this was over a week

ago." Guccifer 2.0 wrote back, "oh, that one, yeah, [I] got it."

          37.     On or about July 18, 20 16, Target Account 1 wrote, "great. [D]id it work?"

Guccifer 2.0 wrote back, " [I] haven't tried yet." Target Account 1 responded, "Oh. We arranged

that server just for that purpose. Nothing bigger?" Guccifer 2.0 wrote back, "let's move step by

step, u have released nothing of what [I] sent u yet." Target Account 1 replied, "How about you

transfer it all to us encrypted. [T]hen when you are happy, you give us the decrypt key. [T]his

way we can move much faster. (A]lso it is protective for you if we already have everything

because then there is no point in trying to shut you up." Guccifer 2.0 wrote back, "ok, i' ll ponder

it."

       D. Contacts Involving the Julian Assange, Roger Stone, and the Target Accounts

          38.    Approximately eight days after the last communication between Guccifer 2.0 and

WikiLeaks described above, on or about July 25, 2016, Stone sent an email to Jerome Corsi, an

author and political commentator, with the subject line, "Get to Assange." 3 The body of the

message read: "Get to Assange [a]t Ecuadorian Embassy in London and get the pendin~

wiki leaks emails ... they deal with Foundation, allegedly."

          39.    On or about A:ugust 2, 2016, Corsi emailed Stone, " Word is friend in embassy

plans 2 more dumps. One shortly after I'm back. 2nd in Oct. Impact planned to be very damaging


3
  1.      On August 7, 20 17, Chief Judge Beryl A. Howell of the District of Columbia issued a search warrant for
Roger Stone's Twitter account, @RogerJStoneJr. On September 11, 2017, Chief Judge Beryl A. Howell of the
District of Columbia issued a search warrant for Stone's Hotmail address,                           The relvant
results of those search warrants are summarized in the paragraphs which fo llow.

                                                        13
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 15 of 31




... Time to let more than Podesta to be exposed as in bed w enemy if they are not ready to drop

HRC. That appears to be the game hackers are now about. Would not hurt to start suggesting

HRC old, memory bad, has stroke -- neither he nor she well. I expect that much of next dump

focus, setting stage for Foundation debacle." Based on my training, experience, and review of

materials in this case, it appears that Corsi's reference to a "friend in embassy [who] plans 2

more dumps" refers to Julian Assange (the user of Target Account 2), the founder of

WikiLeaks, who resided in Ecuador's London Embassy in 2016.

       40.     On or about August 16, 2016, Corsi emailed Stone a link to a piece Corsi had

written about Stone titled, "Trump Adviser: Wikileaks Plotting Email Dump to Derail Hillary."

       41.     As discussed above, on or about August 21, 2016, Roger Stone directed a

publicly-available tweet at John Podesta, Hillary Clinton' s presidential campaign manager,

stating: "Trust me, it will soon the [sic] Podesta's time in the barrel. #CrookedHillary."

       42.     On or about August 31, 2016, Corsi emailed Stone: "Did you get the PODESTA

write-up." STONE replied "Yes."

       43.     On or about September 6, 2016, Corsi emailed: "Roger[,] Is NY Post going to use

the Pedesta [sic] stuff?"

       44.     On or about October 7, 2016, WikiLeaks began releasing emails hacked from

John Podesta' s account.

       45.     WikiLeaks continued to release John Podesta' s hacked emails throughout October

I 0-21, 2016. On October 12, 2016, John Podesta argued publicly that " [it is] a reasonable

assumption to - or at least a reasonable conclusion - that [Stone] had advanced warning [of the

release of his emails] and the Trump campaign had advanced warning about what Assange was

going to do. I think there' s at least a reasonable belief that [Assange] may have passed this

                                                 14
    Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 16 of 31




information on to [Stone]." Commenting to the Miami Herald on or about that same date, Stone

responded: "I have never met or spoken with Assange, we have a mutual friend who ' s traveled to

London several times, and everything I know is through that channel of communications. I'm not

implying I have any influence with him or that I .have advanced knowledge of the specifics of

what he is going to do. I do believe he has all of the e-mails that Huma Abedin and Cheryl Mills,

the Clinton aides, thought were deleted. I hear that through my emissary."

       46.     On or about that same day, October 12, 2016, Corsi emailed Stone on both the

with a subject line "Podesta talking points." Attached to the email was a file labeled, "ROGER

STONE podesta talking points Oct 12 2016.docx." The "talking points" included the statement

that, "Podesta is at the heart of a Russian-government money laundering operation that benefits

financially Podesta personally and the Clintons through the Clinton Foundation." Corsi followed

up several minutes later with another email titled, "Podesta talking points," with the text "sent a

second time just to be sure you go it." Stone emailed Corsi back, "Got them and used them."

       47.     On or about the next day, October 13, 20 I 6, Stone sent a private direct message to

Target Account 1 stating, "Since I was all over national TV, cable and print defending

wikileaks and assange against the claim that you are Russian agents and debunking the false

charges of sexual assault as trumped up bs you may want to rexamine the strategy of attacking

me- cordially R." Target Account 1 responded, "We appreciate that. However, the false claims

of association are being used by the democrats to undermine the impact of our publications.

Don't go there if you don't want us to correct you."

       48.     On or about October 16, 2016, Roger Stone wrote to Target Account 1, "Ha! The

more you \"con-ect\" me the more people think you're lying. Your operation leaks like a sieve.

You need to figure out who your friends are."

                                                 15
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 17 of 31




        49.      On or about October 17, 2016, Corsi emailed Stone with the subject, "Fwd:

ASSANGE ... URGENT . .. " Corsi wrote, "From a very trusted source," and forwarded an email

with the header information stripped out, showing only the body text. The email read, "Yes[.] I

figured this. Assange is threatening Kerry, Ecuador and U.K. He will drop the goods on them if

they move to extradite him. My guess is he has a set of dead man files that include Hillary. It's

what they used to call a ' Mexican stand offt.]' Only hope is if Trump speaks out to save him[ .)

Otherwise he's dead anyway, once he' s dropped what he has. If HRC wins, Assange can kiss his

life away. Interesting gambit Assange has to play out. He' s called Podesta's bluff and raised him

the election."

        50.      The presidential election was held on November 8, 2016.

        51.      On or about November 9, 2016, Target Account 1 messaged Roger Stone,

" Happy?" and then wrote, "We are now more free to communicate."

        52.      On or about March 27, 2017, Target Account 1 wrote to Roger Stone, "FYI,

while we continue to be unhappy about false \"back channel\" claims, today CNN deliberately

broke our off the record comments."

        53.      On March 27, 2017, CNN reported that a representative of WikiLeaks, writing

from an email address associated with WikiLeaks, denied that there was any backchannel

communication during the Campaign between Stone and WikiLeaks. The same article quoted

Stone as stating: " Since I never communicated with WikiLeaks, I guess I must be innocent of

charges I knew about the hacking of Podesta's email (speculation and conjecture) and the timing

or scope of their subsequent disclosures. So I am clairvoyant or just a good guesser because the

limited things I did predict (Oct disclosures) all came true. "



                                                  16
    Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 18 of 31




       54.     On or about April 7, 2017, Roger Stone wrote to Target Account 1, " I am JA's

only hope for a pardon the chances of which are actually (weirdly) enhanced by the bombing in

Syria (which I opposed) . You have no idea how much your operation leaks. Discrediting me

only hurts you. Why not consider saying nothing? PS- Why would anyone listen to that asshole

Daniel Ellsberg." Based on my training, experience, and review of materials in this case, I

believe that "JA" refers to Julian Assange, the user of Target Account 2.

       55.     On or about April 19, 2017, Assange, using Target Account 2, wrote to Stone,

"Ace article in infowars. Appreciated. But note that U.S. intel is engages in slight of hand

maoevers [sic]. Listen closely and you see they only claim that we received U.S. election leaks

\"not directly\" or via a \"third party\" and do not know \"when\" etc. This line is Pompeo appears

to be getting at with his \"abbeted\". This correspnds to the same as all media and they do not

make any allegation that WL or I am a Russia asset."

       56.     On or about June 4, 2017, Roger Stone wrote back to Target Account 2, "Still

nonsense. As a journalist it doesn't matter where you get information only that it is accurate and

authentic. The New York Times printed the Pentagon Papers which were indisputably stolen

from the government and the courts ruled it was legal to do so and refused to issue an order

restraining the paper from publishing additional articles. If the US government moves on you I

will bring down the entire house of cards. With the trumped-up sexual assault charges dropped I

don't know of any crime you need to be pardoned for - best regards. R." Target Account 2

responded, "Between CIA and DoJ they're doing quite a lot. On the DoJ side that's coming most

strongly from those obsessed with taking down Trump trying to squeeze us into a deal."

       57.     On or about June 10, 2017, Roger Stone wrote to Target Account 2, "I am doing

everything possible to address the issues at the highest level of Government. Fed treatment of

                                                 17
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 19 of 31




you and Wikileaks is an outrage. Must be circumspect in this forum as experience demonstrates

it is monitored. Best regards R ." Target Account 2 wrote back, "Appreciated. Of course it is!"

    E. Target Account 1 Sends the "Guessed" Password to "                                       " to


         58.     During the events described above, Target Account 1 also engaged in a separate

proviate conversation regarding a "guessed" password to the non-public website

"PutinTrump.org." On or about September 20, 2016, at approximately 9:07PM, Target Account

1 publicly tweeted, " ' Let's bomb Iraq' Progress for America PAC to launch 'PutinTrump.org' at

9:30.a m . Oops pw is                   putintrump.org."

         59.     On or about September 20, 2016, at approximately 11 :59PM, Target Account 1

sent a private message to a high level individual associated with the Campaign (the "high-level ·

Campaign individual"). 4 The message stated: "A PAC run anti-Trump site '                                    ' is

about to launch. The PAC is a recycled pro-Iraq war·PAC. We have guessed the password. It is

               '. See 'About ' for who is behind it. Any comments?"

        60.      According to publicly available reporting, at approximately 9:31AM on or about

September 21 , 2016, the website "                           " was launched. The website was run by

individuals who stated they wanted to focus attention to what they described as the "dangerous

and unprecedented ties" between Vladimir Putin and Donald J. Trump.

        61.      On or about September 21, 2016, at approximately I I :50AM (approximately two

hours after PutinTrump.org went " live" according to publicly available press accounts), the high-




4
 These records were obtained via a search warrant signed by Chief Judge Beryl A. Howell of the District of
Columbia on October 12, 2017.

                                                        18
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 20 of 31




level Campaign individual sent Target Account 1 a private message: "Off the record I don't

know who that is but I' ll ask around. Thanks."

                        INFORMATION CONCERNING TWITTER

       62.     Twitter owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.twitter.com. Twitter allows its users to create their own

profile pages, which can include a short biography, a photo of themselves, and location

information. Twitter also permits users to create and read 140-character messages called

"Tweets," and to restrict their "Tweets" to individuals whom they approve. These features are

described in more detail below.

       63.     Upon creating a Twitter account, a Twitter user must create a unique Twitter

usemame and an account password, and the user may also select a different name of 20

characters or fewer to identify his or her Twitter account. The Twitter user may also change this

usemame, password, and name without having to open a new Twitter account.

       64.     Twitter asks users to provide basic identity and contact information, either during

the registration process or thereafter. This information may include the user's full name, e-mail

addresses, physical address (including city, state, and zip code), date of birth, gender, hometown,

occupation, and other personal identifiers. For each user, Twitter may retain information about

the date and time at which the user's profile was created, the date and time at which the account

was created, and the Internet Protocol ("IP") address at the time of sign-up. Because every

device that connects to the Internet must use an IP address, IP address information can help to

identify which computers or other devices were used to access a given Twitter account.

       65.     A Twitter user can post a personal photograph or image (also known as an

"avatar") to his or her profile, and can also change the profile background or theme for his or her

                                                  19
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 21 of 31




account page. In addition, Twitter users can post "bios" of 160 characters or fewer to their profile

pages.

         66.   Twitter also keeps IP logs for each user. These logs contain information about the

user's logins to Twitter including, for each access, the IP address assigned to the user and the

date stamp at the time the user accessed hi s or her profile.

         67.   As discussed above, Twitter users can use their Twitter accounts to post "Tweets"

of 140 characters or fewer. Each Tweet includes a timestamp that displays when the Tweet was

posted to Twitter. Twitter users can also "favorite," "retweet," or reply to the Tweets of other

users. In addition, when a Tweet includes a Twitter username, often preceded by the @ sign,

Twitter designates that Tweet a "mention" of the identified user. In the "Connect" tab for each

account, Twitter provides the user with a list of other users who have "favorited" or "retweeted"

the user's own Tweets, as well as a list of all Tweets that include the user' s username (i.e., a list

of all "mentions" and "replies" for that username).

         68.   Twitter users can include photographs or images in their Tweets. Each Twitter

account also is provided a user gallery that includes images that the user has shared on Twitter,

including images uploaded by other services.

         69.   Twitter users can also opt to include location data in their Tweets, which will

reveal the users' locations at the time they post each Tweet. Thi s "Tweet With Location"

function is off by default, so Twitter users must opt in to the service. In addition, Twitter users

may delete their past location data.

         70.   When Twitter users want to post a Tweet that includes a link to a website, they

can use Twitter's link service, which converts the longer website link into a shortened link that

begins with http://t.co. This link service measures how many times a link has been clicked.

                                                  20
    Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 22 of 31




        71 .     A Twitter user can "follow" other Twitter users, which means ~ubscribing to

those users' Tweets and site updates. Each user profile page includes a list of the people who are

following that _user (i.e., the user' s "followers" list) and a list of people whom that user follows

(i.e., the user's "following" list). Twitters users can "unfollow" users whom they previously

followed, and they can also adjust the privacy settings for their profile so that their Tweets are

visible only to the people whom they approve, rather than to the public (which is the default

setting). A Twitter user can also group other Twitter users into " lists" that display on the right

side of the user' s home page on Twitter. Twitter ilso provides users with a list of "Who to

Follow," which includes a few recommendations of Twitter accounts that the user may find

interesting, based on the types of accounts that the user is already following and who those

people follow.

        72.      In addition to posting Tweets, a Twitter user can also send DMs to one of his or

her followers. These messages are typically visible only to the sender and the recipient, and both

the sender and the recipient have the power to delete the message from the in boxes of both users.

As of January 2012, Twitter displayed only the last 100 DMs for a particular user, but older DMs

are stored on Twitter's database.

        73.      Twitter users can configure the settings for their Twitter accounts in numerous

ways. For example, a Twitter user can configure his or her Twitter account to send updates to the

user's mobile phone, and the user can also set up a "sleep time" during which Twitter updates

will not be sent to the user's phone.

        74.      Twitter includes a search function that enables its users to search all public

Tweets for keywords, usemames, or subject, among other things. A Twitter user may save up to

25 past searches.

                                                  21
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 23 of 31




        75.    Twitter users can connect their Twitter accounts to third-party websites and

applications, which may grant these websites and applications access to the users' public Twitter

profiles.

        76.    If a Twitter user does not want to interact with another user on Twitter, the first

user can "block" the second user from following his or her account.

        77.    In some cases, Twitter users may communicate directly with Twitter about issues

relating to their account, such as technical problems or complaints. Social-networking providers

like Twitter typically retain records about such communications, including records of contacts

between the user and the provider's support services, as well as records of any actions taken by

the provider or user as a result of the communications. Twitter may also suspend a particular user

for breaching Twitter' s terms of service, during which time the Twitter user will be prevented

from using Twitter' s services.

        78.    As explained herein, information stored in connection with a Twitter account may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Twitter user' s account information, IP log, stored electronic communications, and other data

retained by Twitter, can indicate who has used or controlled the Twitter account. This " user

attribution" evidence is analogous to the search for "indicia of occupancy" while executing a

search warrant at a residence. For example, profile contact information, communications,

"tweets" (status updates) and "tweeted" photos (and the data associated with the foregoing, such

as date and time) may be evidence of who used or controlled the Twitter account at a relevant

time. Further, Twitter account activity can show how and when the account was accessed or

                                                 22
    Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 24 of 31




used. For example, as described herein, Twitter logs the Internet Protocol (IP) addresses from

which users access their accounts along with the time and date. By determining the physical

location associated with the logged IP addresses, investigators can understand the chronological

and geographic context of the account access and use relating to the crime under investigation.

Such information allows investigators to understand the geographic and chronological context of

Twitter access, use, and events relating to the crime under investigation. Additionally, Twitter

builds geo-location into some of its services. If enabled by the user, physical location is

automatically added to "tweeted" communications. This geographic and timeline information

may tend to either inculpate or exculpate the Twitter account owner. Last, Twitter account

activity may provide relevant insight into the Twitter account owner's state of mind as it relates

to the offense under investigation. For example, information on the Twitter account may

indicate the owner' s motive and intent to commit a crime (e.g., information indicating a criminal

plan) or consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement).

       79.     Therefore, the computers of Twitter are likely to contain all the material described

above, including stored electronic communications and information concerning subscribers and

their use of Twitter, such as account access information, transaction information, and other

account information.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       80.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A), by using the warrant

to require Twitter to disclose to the government copies of the records and other information

(including the content of communications) associated with the accounts in Attachment A and

                                                 23
      Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 25 of 31




particularly described in Section I of Attachment B. Upon receipt of the information described in

Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B.

                                         CONCLUSION

       81.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       82.     Pursuant to 18 U.S .C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

                                   REQUEST FOR SEALING

       83.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation, the full nature and extent of which is not

known to all of the targets of the investigation. Accordingly, there is good cause to seal these

documents because their premature disclosure may seriously jeopardize that investigation.



                                                    Respectfully submitted,



                                                   ~AmyArson~
                                                    Special Agent
                                                    Federal Bureau of Investigation


Subscribed and sworn to before me on this(; ~ay of November, 2017.



                                              &~~
                                      The Honorable Beryl A. Howell
                                      Chief United States District Judge



                                                 24
    Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 26 of 31




                                      ATTACHMENT A

                                    Property to Be Searched

       All information that is associated with the Twitter profile with usernames from the period

from July 1, 2015 to the present:

       @Wikileaks (twitter.com/wikileaks) (Target Account 1)

       @JulianAssange(twitter.com/JulianAssange) (Target Account 2)

that is stored at premises owned, maintained, controlled, or operated by Twitter, a company

headquartered in San Francisco, California.
     Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 27 of 31




                                       ATTACHMENT B

                                 Particular Things to be Seized

I.      Information to be disclosed by Twitter

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Twitter, including any messages, records, files, logs, or information that

have been deleted but are still available to Twitter, or have been preserved pursuant to a request

made under 18 U .S.C. § 2703(f), Twitter is required to disclose the following information to the

government for each account listed in Attachment A:

       a.      All identity and contact information, including full name, e-mail address, physical

               address (including city, state, and zip code), date of birth, gender, hometown,

               occupation, and other personal identifiers;

       b.      All past and current usernames, account passwords, and names associated with

               the account;

       c.      The dates and times at which the account and profile were created, and the

               Internet Protocol ("IP") address at the time of sign-up;

       d.      All IP logs and other documents showing the IP address, date, and time of each

               login to the account;

       e.      All data and information associated with the profile page, including photographs,

              "bios," and 'profile backgrounds and themes;

       f.     All "Tweets" and Direct Messages sent, received, "favorited," or retweeted by the

              account, and all photographs or images included in those Tweets and Direct

              Messages;
Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 28 of 31




  g.   All information from the "Connect" tab for the account, including all lists of

       Twitter users who have favorited or retweeted Tweets posted by the account, as

       well as a list of all Tweets that include the usemame associated with the account

       (i.e., "mentions" or "replies");

  h.   All photographs and images in the user gallery for the account;

  1.   All location data associated with the account, including all information collected

       by the "Tweet With Location" service;

 J.    All information about the account' s use ofTwitter's link service, including all

       longer website links that were shortened by the service, ·all resulting shortened

       links, and all information about the number of times that a link posted by the

       account was clicked;

  k.   All data and information that has been deleted by the user;

  I.   A list of all of the people that the user follows on Twitter and all people who are

       following the user (i.e., the user' s "following" list and "followers" list);

  m.   A list of all users that the account has "unfollowed" or blocked;

  n.   All "lists" created by the account;

  o.   All information on the " Who to Follow" list for the account;

  p.   All privacy and account settings;

  q.   All records of Twitter searches performed by the account, including all past

       searches saved by the account;

  r.   All information about connections between the account and third-party websites

       and applications;



                                           2
Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 29 of 31




  s.   All records pertaining to communications between Twitter and any person

       regarding the user or the user' s Twitter account, including contacts with support

       services, and all records of actions taken, including suspensions of the account.




                                         3
      Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 30 of 31




II.     Information to be seized by the government

        All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of 18 U .S.C. § 1030 (fraud and related activities in connection

with computers), 50 U.S.C. § 30121 (foreign contribution ban), 18 U.S.C. § 371 (conspiracy to

commit an offense against the United States), and 18 U.S.C. § 2 (aiding and abetting) since

March 1, 2016 including, for each user ID identified on Attachment A, information pertaining to

the following matters:

               a. Any correspondence regarding hacked emails or other data from:

                      1.   the Democratic National Committee (DNC)

                    11.    the email belonging to John Podesta ("the email hack")

                    111.   any other individual related to the 2016 United States election.

               b. Any communications between the Target Accounts and individuals

                     associated with the DNC email hack;

               c. Any communications indicating any advance knowledge or direction,

                     planning, or control of the email hack;

               d. Any communications related to the website PutinTrump.Org.

               e. Evidence indicating how and when the Twitter account was accessed or used,

                     to determine the chronological and geographic context of account access, use,

                     and events relating to the crime under investigation and to the Twitter account

                     owner;

               f.    Evidence indicating the Twitter account owner's state of mind as it relates to

                    the crime under investigation;



                                                     4
Case 1:19-mc-00029-CRC Document 29-4 Filed 04/28/20 Page 31 of 31




       g. The identity of the person(s) who created or used the user ID, including

          records that help reveal the whereabouts of such person(s).

       h. The identity of the person(s) who communicated with the accounts about

          matters related to 18 U.S.C. § 1030, including records that help reveal their

          whereabouts.




                                        5
